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                                       CONSENT TO JOIN COLLECTIVE ACTION

                     At some point during the three (3) years prior to signing this form, I was employed as a

            Tier 3+ Trainer for Equinox Holdings, Inc. (“Defendant”). During this time, I worked over forty

            (40) hours per workweek for Defendant without receiving overtime compensation at one and a

            half (1½) times my hourly rate for all hours worked in excess of forty (40) per workweek. I was

            not employed as a Tier 1 or Tier 2 Trainer at any time during the three (3) years prior to signing

            this form.

                     By my signature below, I hereby consent and agree to opt-in to become a “party plaintiff”

            in the lawsuit brought by Monique Katz against Defendant, Case No.: 1:20-CV-09856 (S.D.N.Y.

            2020), an action under the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq., to obtain unpaid

            wages, unpaid overtime compensation, liquidated damages, attorneys’ fees, costs, and other relief

            arising out of my employment with Defendant, or any separate or subsequent action or arbitration

            seeking remedies for unpaid wages from Defendant in that action or its related entities.

                     I designate the Named Plaintiff’s counsel of record and any law firm they associate to

            represent me in the action and to file this consent with the Court. I further authorize the Named

            Plaintiff in the case and her attorneys as my agents to make decisions on my behalf concerning

            the unpaid wages claims asserted in this litigation, the manner and method of conducting this

            litigation, and all other matters pertaining to this lawsuit. I further agree to be bound by any

            collective action settlement concerning unpaid wages approved by my attorneys or by any

            adjudication of this action by the Court, whether it is favorable or unfavorable.

              2/16/2021
            _____________                                    ___________________________________
            Date                                             Signature

                                                                       Colleen Faulkner
                                                             __________________________________
                                                             Full Legal Name (Print)
